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In the United States Court of Federal Claims
                           OFFICE OF SPECIAL MASTERS

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CHRISTINA SCHNIEGENBERG and       *
GREG SCHNIEGENBERG, legal         *
representatives of a minor child, *
M.S.,                             *                          No. 13-347V
                                  *                          Special Master
                                  *                          Christian J. Moran
                    Petitioners,  *
                                  *
v.                                *
                                  *                          Filed: April 29, 2014
SECRETARY OF HEALTH               *
AND HUMAN SERVICES,               *                          DTaP; Seizure Disorder;
                                  *                          SCN1A gene mutation;
                    Respondent.   *                          Ruling on the Record
*************************

Martin James Martinez, Napa, CA, for petitioner;
Althea Walker Davis, United States Dep’t of Justice, Washington, DC, for
respondent.

           UNPUBLISHED DECISION DENYING COMPENSATION 1

      Christina and Greg Schniegenberg, filed a petition as legal representatives of
a minor child, M.S., under the National Childhood Vaccine Injury Act, 42 U.S.C.
§300a-10 through 34 (2006), on May 21, 2013. Their petition alleged that M.S.
experienced adverse reactions to the pertussis component of the diphtheria and
tetanus toxoids and acellular pertussis vaccine (“DTaP”). Petitioners allege that


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          The E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899, 2913 (Dec. 17,
2002), requires that the Court post this ruling on its website. Pursuant to Vaccine Rule 18(b), the
parties have 14 days to file a motion proposing redaction of medical information or other
information described in 42 U.S.C. § 300aa-12(d)(4). Any redactions ordered by the special
master will appear in the document posted on the website.
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DTaP induced generalized tonic seizures and the development of a seizure
disorder. However, the evidence fails to support an award for petitioners.

        I.   Procedural History

      After filing the petition on May 21, 2013, petitioners subsequently submitted
medical records. Exhibits 1-15. On December 13, 2013, petitioners filed a
statement of completion. On January 13, 2014, respondent indicated that the
record was sufficiently complete for her to prepare a Rule 4 report.

      On January 23, 2014, petitioners filed a status report in which they
expressed their intent to file an amended petition to add a Table encephalopathy
claim. However, petitioners filed a status report on February 10, 2014, declining to
amend their petition.

       Respondent’s Rule 4 report was filed on February 14, 2014, indicating that
the petitioners’ medical records revealed M.S. had an SCN1A gene mutation.
Resp’t’s Rep’t at 8. During a status conference held on February 18, 2014, the
undersigned informed petitioners that, in light of recent decisions from the Federal
Circuit concerning alleged vaccine-caused injuries and SCN1A gene mutations,
they may lack a reasonable basis to proceed in this case.

       Correspondingly, on April 7, 2014, petitioners moved for the court to rule on
the record a ruling on the record. Petitioners did not cite any evidence supporting
their claim. Respondent did not file any response in writing, relying presumably
on her Rule 4 report. Accordingly, this case is now ready for adjudication.

       II.   Analysis

       To receive compensation under the National Vaccine Injury Compensation
Program (hereinafter “the Program”), petitioner must prove either 1) that M.S.
suffered a “Table Injury” – i.e., an injury falling within the Vaccine Injury Table –
corresponding to her vaccination, or 2) that she suffered an injury that was actually
caused by a vaccine. See §§ 300aa-13(a)(1)(A) and 300aa-11(c)(1). An
examination of the record did not uncover any evidence that M.S. suffered a
“Table Injury.” Thus, she is necessarily pursuing a causation-in-fact claim.

      Under the Act, a petitioner may not be given a Program award based solely
on the petitioner’s claims alone. Rather, the petition must be supported by either
medical records or by the opinion of a competent physician. § 300aa-13(a)(1). In

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this case, because the medical records do not support petitioners’ claim, a medical
opinion must be offered in support. Petitioners, however, offered no such opinion.

      Accordingly, it is clear from the record in this case that petitioners failed to
demonstrate either that M.S. suffered a “Table Injury” or that her injuries were
“actually caused” by a vaccination. Thus, this case is dismissed for insufficient
proof. The Clerk shall enter judgment accordingly.

     Any questions may be directed to my law clerk, Christina Gervasi, at (202)
357-6521.


IT IS SO ORDERED.

                                               S/Christian J. Moran
                                               Christian J. Moran
                                               Special Master




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